
FreemaN, J.,
delivered the opinion of the Court.
This bill was filed by complainants, sis of whom are minors, who sue by their next friend, Samuel V. Blanton, against John F. Hall, agent of Abby, Gibson &amp; Co., John-*424sou Townsend, a constable of Bedford County, and the said Abby, Gibson &amp; Co., charging that they were the children of Caroline Blanton, formerly Caroline Vance, who was then dead. That by his last will and .testament, their grand-father left to their said mother, a negro man named Joseph. That defendant Hall, and Townsend, the constable, had an execution against their father, founded on a judgment in favor of said A.bby, Gibson &amp; Co., for the sum of $300, ahd had seized the said negro by virtue of the same. They then charge that said negro was not liable for debts of their father, and that he has plenty of other property, both real and personal, unencumbered, to pay said execution.
Upon these allegations, they pray for an injunction against the sale of the negro, and that he be returned to their possession, etc.
Process was issued against Hall and Townsend, which was duly served on them on the 23rd and 29th of February, 1862. No subpoena seems to have been issued as to Abby, Gibson &amp; Co., and they have never appeared in the cause, or waived service.
In September, 1866, an order pro confesso, was entered against Townsend and Hall, they having failed to answer or make any defense; and on the 6th day of September, 1867, a final decree was entered, as the decree recites, against the defendants, adjudging that the slave was not subject to execution for "Willis Blanton’s debts, but was the property of complainant, and perpetually enjoining the sale of said slave, taxing the defendants with the cost.
Abby, Gibson &amp; Co., file the record in this Court for writ of error, and ask a reversal of the above decree.
*425The decree as to them is absolutely void for want of service of process on them,, and they being the only real parties in interest, it must be .reversed entirely, and the case remanded to the Chancery Court to be further proceeded in. Complainants will pay the costs in this Court, and of the decree below.
